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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                         Criminal No. 08-118 (PAM)

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )    ORDER TO RELEASE
           v.                       )    ORIGINAL EXHIBIT
                                    )
2. MINGWEN YANG,                    )
23. GUANGPING LIN,                  )
37. YANXIA TENG,                    )
                                    )
                  Defendants.       )


     This matter came on before the Court on March 26, 2009, upon

the motion of the United States release portions of Government’s

Exhibits   14C   and   30   to   Immigration   and   Customs     Enforcement,

specifically the passports of Mingwen Yang and Yanxia Teng.

     Based upon the submissions of counsel and all files, records

and proceedings herein, IT IS HEREBY ORDERED that the motion of the

United States is GRANTED and the original passports Exhibits 14C

and 30 may be turned over to Immigration and Customs Enforcement

provided that a copy of each passport is maintained by the United

States along with the remaining original exhibits.              The copy will

then serve as a substitute for the original exhibit in all further

proceedings.


Dated: March 31     , 2009

                                    S/Paul A. Magnuson
                                    Paul A. Magnuson, Judge
                                    United States District Court
